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 2   District of Nevada
     Nevada Bar Number 13644
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 4   Suite 1100
     Las Vegas, Nevada 89101
 5   702-388-6336
     702-388-6418 (fax)
 6   Susan.cushman@usdoj.gov
     Attorney for the plaintiff
 7                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA,                       )
 9                                                   )   Case No.: 2:19-cr-00251-GMN-NJK
                      Plaintiff,                     )
10                                                   )   STIPULATION TO CONTINUE
                                                     )   SENTENCING
            vs.                                      )   (Second Request)
11
                                                     )
     ARMANDO MARISCAL,                               )
12                                                   )
                      Defendant.                     )
13                                                   )

14                IT IS HEREBY STIPULATED AND AGREED, by and between NICHOLAS

15   A. TRUTANICH, United States Attorney; SUSAN CUSHMAN, Assistant United States

16   Attorney, counsel for the United States of America and CHRIS T. RASMUSSEN, counsel

17   for defendant, that sentencing in the above-captioned matter currently scheduled for

18   Wednesday, January 20, 2021, at 1:00 p.m. be vacated and continued to a date and time

19   convenient to all parties, but no earlier than 30 days.

20                This Stipulation is entered into for the following reasons:

21                1. Counsel for the government has a conflict due to an older matter, United States

22   v. Green, 2:18-cr-0095-APG-NJK that was previously set for sentencing on the same day and

23   time, January 20, 2021, at 1:00 pm. The defendant in the older case is also detained.

24                2. Both parties require additional time to prepare for sentencing.
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 1              3. The parties agree to the continuance.

 2              4. Defendant Mariscal is on pretrial release and does not object to the

 3   continuance.

 4              5. The additional time requested herein is not sought for purposes of delay, but

 5   to permit the parties to fully prepare for sentencing.

 6              6. This is the second request to continue the sentencing.

 7              DATED this the 29th day of December 2020.

 8                                               NICHOLAS A.TRUTANICH
                                                 United States Attorney
 9

10
                                                 /s/ Susan Cushman
11                                               SUSAN CUSHMAN
                                                 Assistant United States Attorney
12
                                                 Attorneys for Plaintiff
13                                               UNITED STATES OF AMERICA

14

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16                                               /s/Chris T. Rasmussen
                                                 CHRIS T. RASMUSSEN, Esq.
17                                               DEFENSE COUNSEL
                                                 Counsel for Defendant Armando Mariscal
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 2                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                    )
 4                                                ) Case No.: 2:19-cr-00251-GMN-NJK
                   Plaintiff,                     )
                                                  ) ORDER TO CONTINUE
 5                                                ) SENTENCING
           vs.                                    )
 6                                                )
     ARMANDO MARISCAL,                            )
 7                                                )
                   Defendant.                     )
 8                                                )

 9         Based on the pending Stipulation of counsel, and good cause appearing therefore, the

10   Court hereby orders that sentencing in the above-captioned matter be vacated and continued

11   until March 3, 2021, at the hour of 12:00 p.m. in Courtroom 7D.

12         DATED this _____
                       30 day of December 2020.

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14                                            ________________________________
                                              UNITED STATES DISTRICT JUDGE
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